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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION



 TAWANDA HALL, et al.,
                                                Case No. 20-cv-12230
                    Plaintiffs,
                                                Paul D. Borman
 v.                                             United States District Judge

 OAKLAND COUNTY TREASURER
 ANDREW MEISNER, et al.,

                Defendants.
 ______________________________/


  ORDER STRIKING PLAINTIFFS’ COMBINED RESPONSE TO ALL
    DEFENDANTS’ MOTIONS TO DISMISS (ECF NO. 36), AND
   ORDERING PLAINTIFFS TO FILE SEPARATE RESPONSES TO
 EACH DEFENDANTS’ MOTION TO DISMISS (ECF NOS. 24, 31, 32, 34)

      Defendant Habitat for Humanity filed a Motion to Dismiss on October 21,

2020. (ECF No. 24, Habitat for Humanity Motion to Dismiss.) On November 5,

2020, Defendants Southfield Non-Profit Housing Corporation, Southfield

Neighborhood Revitalization Initiative, LLC, Mitchell Simon and E’Toille Libbett

(the “Non-Profit Defendants”), and Defendants Oakland County and Andrew

Meisner (the “OC Defendants”) filed two separate motions to dismiss. (ECF No. 31,

Non-Profit Defendants’ Motion to Dismiss) (ECF No. 32, OC Defendants’ Motion

to Dismiss.) Finally, on November 6, 2020, Defendants City of Southfield, Frederick
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Zorn, Kenson Siver, Susan Ward-Witkowski, Gerald Witkowski, and Irvin

Lowenberg (the “Southfield Defendants”) filed their motion to dismiss. (ECF No.

34, Southfield Defendants’ Motion to Dismiss.)

      On December 9, 2020, Plaintiffs filed a Combined Response to All

Defendants’ Motions to Dismiss. (ECF No. 36.)

      The Court STRIKES Plaintiffs’ Combined Response (ECF No. 36) and

ORDERS Plaintiffs to file separate responses to each of the four pending motions to

dismiss. Plaintiffs’ responses are due by Monday, December 28, 2020.

IT IS SO ORDERED.

                                            s/Paul D. Borman
Dated: December 11, 2020                    Paul D. Borman
                                            United States District Judge




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